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REIAILTNSTHEEMEN! SALE CUNINAY! ~ SIMPLE miveiwwe wri
(WITH ARBITRATION PROVISION)

f
Le

nA

Buyer Name and Address
(Including County and Zip Code)

W
Cc wi or T

ES V ES

DR 83d

: :
FLOR]

Co-Buyer Name and Address
(Including County and Zip Code)
PRENNEN uJ URT

CHARLES NN

Seller-Creditor (Name and Address)

You, the Buyer (and Co-Buyer, if any), may buy the vehicle below for cash
on credit under the agreements on the front and back of this contract. Yo "
contract) the Amount Financed and Finance Charge in U,S. funds according to the payment schedule below. We wil

on a daily basis. The Truth-In-Lending Disclosures below are part of this contract.

or on credit. By signing this contract, you choose to buy the vehicle
u agree to pay the Seller - Creditor (sometimes “we” or “us” in this

| figure your finance charge

New/Used} Year Make and Model Odometer Vehicle Identification Number Primary Use For Which Purchased }
Personal, family, or household unless
otherwise indicated below
C business
it ? FN @31i Oagricultural ()
FEDER RI ENOINE 2S eS ae, pene) tooranpone ceo
PEACE ine car ae amo. pigments acm Sale who is acceptable to a = may a the —
i existin icy owned o
RATE The dollar The amount of The amount you The total cost of Seed by outed: ie accseiitla . i You are not
The cost of amount the credit provided will have paid after | your purchase on required to buy any other insurance to obtain credit.
your credit as credit will to you or you have made all credit, including if any insurance is checked below, policies or
a = anyone: paymeae your coun certificates from the named insurance companies will
Soe: Payment: Ch describe the terms and conditions.
$ g _is
%}_$ $ $ _36530.64 | $ 38330 Check the insurance you want and sign below:
Your Payment Schedule Will Be: (e) means an estimate Optional Credit Insurance

Number of Amount of When Payments CO Credit Life: (4 Buyer (1) Co-Buyer C1] Both

Payments Payments Are Due CO Credit Disability: ( Buyer [) Co-Buyer [Both
Premium:
$ beginning «4 (>> Credit Life $
Credit Disability $
$ Insurance Company Name

Home Office Address 4

Late Charge. If a payment is not received in full within 15 days after it is due, you will pay a late charge of
5% of the part of the payment that is late. If the payment due is $25 or less, the maximum late charge will be
$5. Otherwise, the maximum charge will be $25 and the minimum charge will be $10.
Prepayment. If you pay early, you will not have to pay a penalty.
Security Interest. You are giving a security interest in the vehicle being purchased.
Additional Information: See this contract for more information including information about nonpayment,
default, any required repayment in full before the scheduled date and security interest.

1 Cash Sale Price

ITEMIZATION OF AMOUNT FINANCED

Credit life insurance and credit disability insurance are not
required to obtain credit. Your decision to buy or not buy
credit life insurance and credit disability insurance will not
be a factor in the credit approval process. They will not be
provided unless you sign and agree to pay the extra cost.
If you choose this insurance, the cost is shown in Item 4A
of the Itemization of Amount Financed. Credit life
insurance is based on your original payment schedule.
This insurance may not pay all you owe on this contract if
you make late payments. Credit disability insurance does
not cover any increase in your payment or in the number
of payments. Coverage for credit life insurance and credit

(If total downpayment is negative, enter “O" and see 4H below)
3 Unpaid Balance of Cash Sale Price (1 minus 2)
4 Other Charges Including Amounts Paid to Others on Your Behalf

(Seller may keep part of these amounts):

- se MYA 12996. ag disability insurance ends on the original due date for the
Vehicle Cash Sale Price (including $ pais tax) $ esr = last payment unless a different term for the insurance is
Administrative Fee $_2-199. 4G shown below.

AN ADMINISTRATIVE FEE IS NOT AN OFFICIAL FEE AND IS NOT
REQUIRED BY LAW BUT MAY BE CHARGED BY A DEALER. THIS
ADMINISTRATIVE FEE MAY RESULT IN A PROFIT TO DEALER. NO PORTION
OF THIS ADMINISTRATIVE FEE IS FOR THE DRAFTING, PREPARATION, OR
COMPLETION OF DOCUMENTS OR THE PROVIDING OF LEGAL ADVICE. Other Optional Insurance
THIS NOTICE IS REQUIRED BY LAW. oO : wae
Other $ N/A Type of Insurance Term
Other * $ 1/ Premium $ 1
Other $ iff Insurance Company Name 2 2.
Total Cash Sale Price $ 189 _ AA (1) -
Home Office Address 1
2 Total Downpayment = HLA
Trade-in ‘24 i .
(Year) (Make) (Model) Type of Insurance . Term
Gross Trade-In Allowance $ N/S Premium $
Less Pay Off Made By Seller tol /4 $ NY Insurance Company Name 5
Equals Net Trade In $ NZS LAA,
+ Cash $__1AR8 ag Home Office Address
+ Other $ \/A Rea
+ Other $ b Other optional insurance is not required to obtain credit.
+ Other $ N/A Your decision to buy or not buy other optional insurance

will not be a factor in the credit approval process. It will not
be provided unless you sign and agree to pay the extra
cost.

| want the insurance checked above.

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PR WUE UF rita Wrenn treme ner ee a
Paid to Insurance Company or Companies. Buyer Signature ? Date
Lite $
Disability $ ! $
B Other Optional Insurance Paid to Insurance Company or Companies $ Co-Buyer Signature , Date
C Official. Fees Paid to G Agencies
pons! for $ You have a right to cancel credit
to for $ insurance within 15 days of buying it}
to fog 5 and receive a full refund or credit for {
D Optional Gap Contract 5 the credit insurance premium.
E Government Taxes Not Included in Cash Sale Price $__
oom cer en nbn” LAGI
‘ BODILY INJURY OR PROPERTY DAMAGE
G Government Certificate of Title Fees $ SETS ee
H_ Other Charges (Seller must identity who is paid and describe purpose.) OPTIONAL OTHER BENEFIT(S) You want to
tol/A for Prior Credit or Lease Balance $_ purchase the other benefit(s) written with the
2 ASY CARE. ASYOC Seunyi cae = $_ a company(ies) and for the coverage periods and
tN ZA OE LA aoe ee $ . charge(s) shown below.
wrAe SOL eae
ts ek ee ed Cerny RAST ORNE STOWE RCP Ow
2 i ‘4 SL a —————____ $ Pip Coverage Period ae Mos. oe a
= TATE upp OY PCR CEES $____#+A— Type of Benefit ,
tere ae TT a ig eee ery 6 eee comme Company ¢—_.———____——
fa! - oe Coverage Period a Mos. or
» tor $ Type of Benefit —
to lor $ Company -—
e = $ Coverage Period Mos. or
os $ Type of Benefit -

Total Other Charges and Amounts Paid to Others on Your Behalf $ we (4) Comp
$4644 any 2

5 Amount Financed (3 + 4) $225 5
26335-s8— (5) Coverage Period Mos. or
Type of Benefit
Returned Check Charge: You agree to pay a charge of $__25 __ if any check you give us is Company N/R
dishonored or any electronic payment is unpaid. Coverage Period , Mos. or

OPTIONAL GAP CONTRACT. A gap contract (debt cancellation contract) is not required to obtain credit and will not be provided unless you sign below and agree to pay the extra charge. \t you choose to buy a
gap contract, the charge is shown in Item 4D of the Itemization of Amount Financed. See your gap contract for details on the terms and conditions it provides. It is a part of this contract.

= ne EASTEARE GAP Name of Gap Contract

| want to buy a gap contract. _

Buyer Sign % i
within 15 days of buying it and receive a full refund or credit for the charge of the gap contract.

You have a right to cancel a gap contrac’
| OPTION: D You pay no finance charge if the Amount Financed, item 5, is paid in full on or before —___—_—. Year___—— . SELLER'S INITIALS |
to Arbitrate: By signing below, you agree that, pursuant to the Arbitration Provision on the reverse side of this contract, you or we may elect to resolve any dispute by neutral,

Agreement
binding arbitration and not by a court action. See the Arbitration Provision for additional information concerning the agreement to arbitrate.
Buyer Signs) Co-Buyer Signs) ) FTF f

NO COOLING OFF PERIOD
State law does not provide for a “cooling off” or cancellation period for this sale. After you sign this contract,
you may only cancel it if the seller agrees or for legal cause. You cannot cancel this contract simply because
you change your mind. This notice does not apply to home solicitation sales.

The Annual Percentage Rate may be negotiable with the Seller. The Seller may assign this contract
and retain its right to receive a part of the Finance Charge.

HOW THIS CONTRACT CAN BE CHANGED. This contract contains the entire agreement between you and us relating to this contract. Any.change to this contract must be in
writing and we must sign it. No oral changes are binding. — Buyer Signs X. ae Co-Buyer Signs X Ute
if any part of this contract is not valid, all other parts stay valid. We may delay or refrain from enforcing any of our rights under this contract without losing them: For example,
we may extend the time for making some payments without extending the time for making others.
See back for other important agreements.

Notice to the Buyer.
Do not sign this contract before you read it or if it contains any blank spaces. You are entitled to an exact copy of the
contract you sign. Under the law you have the right to pay off in advance the full amount due and to obtain a partial
refund of the finance charge (time price differential).

the terms of this contract. You confirm that bef: igned this ; inact
AS oats Stee ou confirm that peters posal oriunis conten tian aamnenaston: aisisn on

and review it. You acknowledge you » r i ing the arb
the reverse side, before signing below. You confirm that you received a completely filled-in copy when you signed it.

Date... Co-Buyer Signs X-__
Co-Buyer Printed Name.

Buyer Signs X Date__

Buyer Printed Name OREN GUAT
if the "business" use box is checked in “Primary Use for Which Purchased”: Print Name os Title ’
Co-Buyers and Other Owners — A co-buyer is a person who is responsible for paying the entire debt. An other owner Is a person whose name Is on the title to the vehicle but does not have

to pay the debt The other owner agrees to the security interest in the vehicle given to us in this contract. 4.
/ / i i
Other owner signs here X Address : L 5 / a
Date py X d 7 = Title

(Assignee) under the terms of Seller's agreement(s) with Assignee

Seller assigns its interest in this contract to
(J Assigned with recourse (1 Assigned without recourse () Asslonied with imited recounee
4 a : of
| By X “ Title
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D, AS TO CONTENT On FrTNESS FOR PURPOSE OF THIS FORM. CONSULT YOUR OWN LEGAL COUNSEL.

CUSTOMER/TRUTH IN LENSING COPY
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